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         February 24, 2025

         VIA ECF

         The Honorable Michael E. Farbiarz
         U.S. District Judge, District of New Jersey

                                United States v. Coburn & Schwartz, 19-cr-120 (MEF)

         Dear Judge Farbiarz:

                 In accordance with the Court’s Order, ECF No. 836, Mr. Schwartz, joined by Mr. Coburn,
         respectfully submits this letter in support of his renewed motion for due process relief.1

                 The essence of this motion is that the parties have had unequal access to key evidence and
         witnesses in India. That unequal access, driven at least in part by the government’s unequal efforts
         in gathering evidence, has had demonstrable effects that call into question the fairness of this
         prosecution and the trial scheduled to begin next week. This renewed motion seeks to address that
         inequality, which threatens to deprive defendants of their constitutional rights and to undermine
         public confidence in the integrity of this prosecution and the accuracy of the adjudication at trial.

         I.       THE PARTIES HAVE HAD UNEQUAL ACCESS TO EVIDENCE ABROAD

                  For over five years, defendants have sought to obtain particular exculpatory evidence and
         access to specific exculpatory witnesses in India. Those efforts have been unsuccessful and, until
         recently, were not only unaided by the government—which has at its disposal numerous tools to
         secure foreign evidence that criminal defendants do not—but actively stymied by it.2 In December
         2020, the defense asked the government to help obtain subpoenaed records from L&T, either
         through a direct request to L&T or an MLAT. ECF No. 500-45. The government told the Court
         that, while it was “not going to get in the way,” it would “certainly not . . . pursue an MLAT to
         India or take other steps to assist the defense.” ECF No. 137 (Tr. 41:13–24). After the Court ruled
         that it lacked personal jurisdiction over L&T to enforce the subpoena, ECF Nos. 264 at 2, 268 at
         3, the defendants moved for issuance of letters rogatory to obtain evidence from L&T and conduct
         Rule 15 depositions of seven material and otherwise unavailable exculpatory witnesses in India.
         ECF Nos. 168, 396. The government told the Court that letters rogatory are “the only available
         procedure for criminal defendants to request a deposition in India” and that requesting depositions
         via the U.S.-India MLAT “would exceed the scope of the Treaty.” ECF No. 405 at 3. As the

         1 Given the Court’s familiarity with the facts and legal issues, defendants incorporate by reference

         the background and legal arguments in their initial brief, ECF No. 746-1, as supplemented below.
         2 During the course of its investigation, the government interviewed witnesses from India who

         were made available by Cognizant and L&T, and who were interviewed outside of India in
         alternative locations like Kuala Lumpur, Rome, and Singapore. The government has made no
         secret of its access to these witnesses even when it was outside the scope of formal process with
         the government of India. See ECF No. 399 at 8, 10, 10 n.4. The defense does not have this access.
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